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                                                                                                                       P. STERLING KERR, ESQ.
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                                                                                                                 9
                                                                                                                                               UNITED STATES DISTRICT COURT
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                                                                                                                 10
                                                                                                                                                      DISTRICT OF NEVADA
                                                                                                                 11
                                  ATTORNEYS AT LAW




                                                                                                                 12     INTERNATIONAL MARKETS LIVE,
                                                                                                                                                                    Case No.:
                                                                                                                        INC., a New York corporation;
                                                                                                                 13     CHRISTOPHER TERRY, an individual;
                                                                                                                 14                                                        COMPLAINT FOR:
                                                                                                                                       Plaintiffs,
                                                                                                                 15                                                      1) DEFAMATION PER SE
                                                                                                                        v.                                               2) TRADE LIBEL
                                                                                                                 16
                                                                                                                                                                         3) TORTIOUS INTERFERENCE
                                                                                                                 17     ROBERT HALTERMAN, an individual;                    WITH CONTRACTUAL
                                                                                                                        CHAKRA CAPITAL GROUP, an                            RELATIONS
                                                                                                                 18     unknown entity; SCOTT CARNEY, an                 4) TORTIOUS INTERFERENCE
                                                                                                                        individual ETHAN VANDERBUILT, an                    WITH PROSPECTIVE
                                                                                                                 19
                                                                                                                        individual; DAVE MACKINSON, an                      ECONOMIC ADVANTAGE
                                                                                                                 20     individual;                                      5) CIVIL CONSPIRACY
                                                                                                                 21                  Defendants.
                                                                                                                 22

                                                                                                                 23
                                                                                                                             COMES NOW, Plaintiffs by and through their attorneys, the Law Offices of P. Sterling
                                                                                                                 24

                                                                                                                 25    Kerr, and complains and alleges against Defendants ROBERT HALTERMAN (hereinafter

                                                                                                                 26    “Halterman”), Defendant CHAKRA CAPITAL GROUP (hereinafter “Chakra Capital”),
                                                                                                                 27
                                                                                                                       SCOTT    CARNEY       (hereinafter   “Carney”),   ETHAN    VANDERBUILT        (hereinafter
                                                                                                                 28




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      “Vanderbuilt”),      and   DAVE   MACKINSON         (hereinafter   “Mackinson”)     (collectively
1

2     “Defendants”) as follows:

3                                            THE PARTIES
4
         1.   Plaintiff INTERNATIONAL MARKETS LIVE dba iMARKETSLIVE (hereinafter
5
      “IML”) is, and at all times relevant herein was, a New York corporation.
6

7
         2.   Plaintiff TERRY is an individual and is, and at all times relevant, a Nevada resident.

8        3.   Upon information and belief, Defendant HALTERMAN is an individual and a South
9     Carolina resident.
10
         4.   Upon information and belief, Defendant CHAKRA CAPITAL is a fictitious firm name
11
      for HALTERMAN.
12

13       5.   Upon information and belief, Defendant CARNEY is an individual and a Florida

14    resident.
15
         6. Upon information and belief, Defendant VANDERBUILT is an individual and a
16
      California resident.
17
         7. Upon information and belief, Defendant MACKINSON is an individual and a Florida
18

19    resident.

20                                      JURISDICTION AND VENUE
21
         8. This Court has diversity subject matter jurisdiction of this action. The Court has
22
      diversity jurisdiction under 28 U.S.C. § 1332 because no Plaintiffs and Defendants are not
23

24
      residents of the same state, and because the amount in controversy, exclusive of interest and

25    costs, exceeds seventy-five thousand dollars ($75,000.00).
26       9.   Venue is proper as TERRY is a resident of the state of Nevada.
27

28




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                                        GENERAL ALLEGATIONS
1

2        10. Upon information and belief, HALTERMAN controls CHAKRA CAPITAL which

3     advises and performs trades for individuals on the foreign currency (“Forex”) markets.
4
         11. HALTERMAN publishes derogatory remarks regarding competing Forex traders
5
      including Plaintiffs on the CHAKRA CAPITAL WEBSITE, www.chakracapitalgroup.com.
6

7
         12. The CHAKRA CAPITAL website states that HALTERMAN is a vigilante

8     “superhero” regulator of Forex trading,
9             …To this day, nobody knows who is this "Batman of Forex" persona behind the mask.
10
              He played the primary role exploiting and the take-down of a notorious scam artist,
              Reza Mokhtarian, of "Mentortips" and "Kaizen Global", now dismantled and
11            completely destroyed. The Villain, is once again, hunkered down into the underworld,
              brewing another scheme, he asserts. It doesn't stop there. The "Batman of Forex" is
12
              always looking out for your interest and just because you don't see a crime happening,
13            rest assured, "Batman of Forex" has already man-handled the villains. Batman keeps
              the city safe as do forex, so that not only you can sleep in your bed peacefully at night,
14            but also you can trade any financial instrument in peace.
15
         13. HALTERMAN writes derogatory remarks about competing Forex traders including
16
      Plaintiffs on his Facebook page located at www.facebook.com/ChakraCapitalGroup-
17
      Official?ref=br_rs.
18

19       14. On December 2, 2017, HALTERMAN posted that IML is, “A company run by

20    crackheads, pedophiles, welfare mothers and street thugs.”
21
         15. On December 5, 2018, HALTERMAN posted “iMarketsLive (IML) continues to scam
22
      people out of their money, and Austin is still smoking that glass pipe. No wonder he is (or was)
23

24
      homeless and has ‘a sob story about his child’...typical junkie. If you're looking to learn how

25    to trade, I PROMISE YOU, you will lose your money if you join IML. THEY ARE NOT
26    TRADERS! They are a pyramid scheme solely focused on recruiting and ranking up. They use
27
      forex to ENTICE people to get other people to join.”
28




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         16. On January 21, 2018, HALTERMAN posted:
1

2               Tide Pods must be running rampant in International Markets Live (IML). Trade
                results are from Fusion trader "Xplosive". I included the open trades to verify. The
3               EU and GU trades are from Fxsignals auto trader. Here, someone shares the inside
                scoop of his experience with IML:
4

5               "The executive VP Alex Morton, the company where he made his millions was
                called Veema. It was shut down for being a Ponzi pyramid. Julian Kuschner,
6               chairman 25, his last company Wake Up Now was shut down for being a Ponzi.
7
                Then he went to Wealth Generators where he made more money, then left because
                the products lost everyone a fuck load of money. As for the products for IML, their
8               Swipetrades app is full of shit. They’ll post the results saying a trade they called out
                hit Take Profit, but it actually hit the Stop Loss, THEN went the way they
9               anticipated so they call it a “winner”. Also, their harmonic scanner is trash. What
10
                they’ll do is call out a trade, giving entry point, stop loss, and take profit. All the
                losing trades they will remove from the web page, but keep the winners up so it
11              looks good. And, a lot of people I have screenshots of, post demo results to get
                signups. False advertisement because they don’t inform people it’s demo. I was
12
                guilty of it a few times, but it was only for like 80$ lol. I know people posting pics of
13              thousands of dollars on social media, but I know it’s demo because I know them
                personally."
14                  …
                    …
15
                Join IML today, so you too, can eat Tide Pods!!😀😀😀
16              Unless you're gullible enough to believe in "get rich quick" schemes, you know
                International Markets Live (IML) is a scam when you see stuff like this.
17                  #JulioMartinez
18
                    #ChristopherTerry
                    #JasonBrown
19
         17. On January 26, 2018, HALTERMAN posted, “International Markets Live (IML) has
20

21    been investigated for securities fraud and possible money laundering and tax avoidance.”

22       18. On January 26, 2018, HALTERMAN posted, “IML has been bitch slapped twice by
23
      the AMF; second time is the screenshot. Then Columbia, and now Mexico. What happens
24
      when the big dogs like the SEC investigate and freeze assets? What happens when IBO leaders
25
      get slapped with class action lawsuit and possible criminal charges? But don't listen to me.
26

27    Wait until it's too late like any idiot would. As for customers, I keep telling you..you're going

28    to get burned joining this fraudulent scheme. They are 100% recruiting ponzi using



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      "education" as an excuse to get those residuals. They don't care about whether or not they are
1

2     blowing your account. Would you trust an unlicensed psychiastrist to prescribed medication for

3     you? How about an unlicensed electrician rewire your home?”
4
         19. Upon information and belief, CARNEY controls a company called Harmonic Trader
5
      which makes trades for individuals on the foreign currency (“Forex”) markets.
6

7
         20. CARNEY has sent threating emails to Plaintiffs stating that if at least $50,000.00 is

8     not paid to CARNEY, he will “go on the offensive” implying that he will make allegations of
9     IML wrongdoing to federal authorities.
10
         21. Shortly after these threats were made, CARNEY posted derogatory statements against
11
      Plaintiffs in the comments section of HALTERMAN’s Facebook page.
12

13       22. CARNEY filed a false Complaint with the Commodities Futures Trading Commission

14    on or about the beginning of January 2018.
15
         23. On or about January 19, 2018, CARNEY posts, “IML Federal Investigation in FULL
16
      SWING! That's all I cansay.”
17
         24. HALTERMAN publishes derogatory and false remarks about Plaintiffs on his website
18

19    www.ethanvanderbuilt.com.

20       25. HALTERMAN states on his website that IML is a “scam” and accuses IML of not
21
      adhering to federal rules and regulations.
22
         26. MACKINSON publishes to IML contractors that Plaintiffs are not adhering to federal
23

24
      rules and regulations, and/or committing criminal acts.

25       27. There are other harmful statements against Plaintiffs published on websites controlled
26    by the Defendants.
27

28




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1                                      FIRST CLAIM FOR RELIEF
                                   (Defamation Per Se against Defendants)
2

3         28. Plaintiff incorporates by reference and reaffirms each and every allegation previously

4     asserted as if fully set forth herein.
5
          29. The statements, as cited in the general allegations, tend to harm the reputation of the
6
      Plaintiffs in the estimation of the community and deter third persons from associating or dealing
7

8
      with Plaintiffs.

9         30. The statements, as cited in the general allegations, are false.
10        31. The statements, as cited in the general allegations, were intentionally published on the
11
      internet.
12
          32. The statements, as cited in the general allegations constitute the imputation that
13

14    Plaintiffs have committed a crime; and/or Plaintiffs lack of fitness for trade, business, or

15    profession.
16
          33. As a direct and proximate result of Defendants’ defamatory acts, Plaintiff has been
17
      harmed in amount in excess of one million dollars ($1,000,000.00).
18
          34. It has been necessary for Plaintiff to retain the services of an attorney to prosecute this
19

20    action and, therefore, Plaintiff is entitled to reasonable attorney’s fees and costs, prejudgment

21    interest, and such other and further relief the court deems proper resulting from this action.
22
                                       SECOND CLAIM FOR RELIEF
23
                                       (Trade Libel against Defendants)
24
          35. Plaintiff incorporates by reference and reaffirms each and every allegation previously
25

26
      asserted as if fully set forth herein.

27        36. The statements, as cited in the general allegations, about the Plaintiffs were
28    published on the internet.



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          37. The statements, as cited in the general allegations, disparage the quality of IML’s trading
1

2     services.

3         38. The statements, as cited in the general allegations, are false.
4
          39. The statements, as cited in the general allegations, were intentionally published on the
5
      internet.
6

7
          40. As a direct and proximate result of Defendants’ trade libel, Plaintiff has been harmed in

8     amount in excess of one million dollars ($1,000,000.00).
9         41. It has been necessary for Plaintiff to retain the services of an attorney to prosecute this
10
      action and, therefore, Plaintiff is entitled to reasonable attorney’s fees and costs, prejudgment
11
      interest, and such other and further relief the court deems proper resulting from this action.
12

13                                      THIRD CLAIM FOR RELIEF
                               (Tortious Interference with Contractual Relations
14                                            against Defendants)
15
          42. Plaintiff incorporates by reference and reaffirms each and every allegation previously
16
      asserted as if fully set forth herein.
17
          43. Plaintiff IML had contractual relationships with customers and individual
18

19    representatives who desired participate in receiving educational products for Forex markets.

20        44. Defendants knew of these relationships.
21
          45. Defendants spread false information and affirmatively filed false complaints with
22
      regulators with the intent of disrupting Plaintiff’s relationships with its customers.
23

24
          46. Defendants’ conduct was not legally justified.

25        47. As a direct and proximate result of Defendants’ interference with IML’s contractual
26    relationships, Plaintiff has been harmed in amount in excess of one million dollars
27
      ($1,000,000.00).
28




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     Case 2:18-cv-00187-JAD-GWF Document 2 Filed 02/01/18 Page 8 of 10



            48. It has been necessary for Plaintiff to retain the services of an attorney to prosecute this
1

2     action and, therefore, Plaintiff is entitled to reasonable attorney’s fees and costs, prejudgment

3     interest, and such other and further relief the court deems proper resulting from this action.
4
                                      FOURTH CLAIM FOR RELIEF
5                       (Tortious Interference with Prospective Economic Advantage
                                             against Defendants)
6

7
            49. Plaintiff incorporates by reference and reaffirms each and every allegation previously

8     asserted as if fully set forth herein.
9           50.    Plaintiff IML had prospective contractual relationships with customers and
10
      individual representatives who desired participate in receiving educational products for Forex
11
      markets.
12

13          51. Defendants knew of these prospective relationships.

14          52. Defendants spread false information and affirmatively filed false complaints with
15
      regulators with the intent to preventing and inhibiting Plaintiffs relationships with the
16
      prospective customers.
17
            53. Defendants’ conduct was not legally justified.
18

19          54. As a direct and proximate result of Defendants’ interference with the prospective

20    customer relationships, Plaintiff has been harmed in amount in excess of one million dollars
21
      ($1,000,000.00).
22
            55. It has been necessary for Plaintiff to retain the services of an attorney to prosecute this
23

24
      action and, therefore, Plaintiff is entitled to reasonable attorney’s fees and costs, prejudgment

25    interest, and such other and further relief the court deems proper resulting from this action.
26

27
      ///
28




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     Case 2:18-cv-00187-JAD-GWF Document 2 Filed 02/01/18 Page 9 of 10



                                         FIFTH CLAIM FOR RELIEF
1
                                     (Civil Conspiracy against Defendants)
2
            56. Plaintiff incorporates by reference and reaffirms each and every allegation previously
3
      asserted as if fully set forth herein.
4

5           57. Defendants have taken concerted action in defaming Plaintiffs and committing tortious

6     interference with contractual relations and tortious interference with contractual relations.
7
            58. As a direct and proximate result of Defendants’ civil conspiracy, Plaintiffs have been
8
      harmed in amount in excess of one million dollars ($1,000,000.00).
9

10
            59. It has been necessary for Plaintiffs to retain the services of an attorney to prosecute

11    this action and, therefore, Plaintiff is entitled to reasonable attorney’s fees and costs,
12
      prejudgment interest, and such other and further relief the court deems proper resulting from
13
      this action.
14

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      ///
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      ///
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      ///

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                              WHEREFORE, PLAINTIFF PRAYS FOR
1
                         THE FOLLOWING RELIEF AGAINST DEFENDANTS:
2
        1. For Damages in an amount greater than $1,000,000.00 as a result of Defendants’
3
     defamatory and tortious actions;
4

5       2. For injunctive relief to enjoin the Defendants from committing the defamatory and

6    tortious actions;
7
        3. For an award of pre-judgment interest, as well as reasonable attorneys’ fees as both
8
     normal and special damages, and other costs; and
9

10
        4. For such other and further relief that this Court deems just and proper.

11          Dated this 1st day of February, 2018
12

13                                                  LAW OFFICES OF P. STERLING KERR
14
                                                              /s/ George E. Robinson
15
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22                                                          Attorneys for Plaintiff
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